Case 1:22-cv-08969-PAE   Document 63-6   Filed 11/14/23   Page 1 of 5




                 EXHIBIT F
Case 1:22-cv-08969-PAE   Document 63-6   Filed 11/14/23   Page 2 of 5




                                                                        DCC_000035
Case 1:22-cv-08969-PAE   Document 63-6   Filed 11/14/23   Page 3 of 5




                                                                        DCC_000036
Case 1:22-cv-08969-PAE   Document 63-6   Filed 11/14/23   Page 4 of 5




                                                                        DCC_000037
Case 1:22-cv-08969-PAE   Document 63-6   Filed 11/14/23   Page 5 of 5




                                                                        DCC_000038
